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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                               8:14CR357

      vs.
                                                  FINAL ORDER OF FORFEITURE
RODOLFO ESQUIVEL,
ALEJANDRO GARCIA-ROA,
ERNESTO ARROYO, and
AGUEDA ARROYO,

                    Defendants.




      This matter comes on before the Court upon the United States= Motion for Final

Order of Forfeiture (Filing No. 175). The Court review has reviewed the record in this

case and, being duly advised in the premises, finds as follows:

      1.    On July 23, 2015, the Court entered an Amended Preliminary Order of

Forfeiture (Filing No. 172) pursuant to the provisions of Title 21, United States Code,

Sections 846 and 853 based upon the Defendant=s plea of guilty to Count I and the

Forfeiture Allegation of the Indictment filed herein. By way of said Preliminary Order of

Forfeiture, the Defendant=s interest in $63,731.00 and $14,904.00 in United States

currency was forfeited to the United States.

      2. Notice of Criminal Forfeiture was posted on an official internet government

forfeiture site, www.forfeiture.gov, for at least thirty consecutive days, beginning on

August 7, 2015, as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for
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Admiralty or Maritime Claims        and Asset Forfeiture Actions.        A Declaration of

Publication was filed herein on October 8, 2015 (Filing No. 174).

       3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff=s Motion for Final Order of Forfeiture should be granted.

       Accordingly,

       IT IS ORDERED:

       A. The Plaintiff=s Motion for Final Order of Forfeiture (Filing No. 175) is granted.

       B. All right, title and interest in and to the $63,731.00 and $14,904.00 in United

           States currency held by any person or entity are hereby forever barred and

           foreclosed.

       C. The $63,731.00 and $14,904.00 in United States currency be, and the same

           hereby is, forfeited to the United States of America.

       D. The United States is directed to dispose of said property in accordance with

           law.

       DATED this 22nd day of October, 2015.



                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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